                 Case MDL No. 3107 Document 75 Filed 03/20/24 Page 1 of 4




                                         BEFORE
                            THE UNITED STATES JUDICIAL PANEL
                              ON MULTIDISTRICT LITIGATION


IN RE: PASSENGER VEHICLE                             MDL NO. 3107
REPLACEMENT TIRES ANTITRUST
LITIGATION



    PLAINTIFFS DANIEL PURCELL, LUKE CUDDY, ELIZABETH TWITCHELL, FRANK
   NOVAK AND INTERESTED PARTIES LAURA AMMONS, BRANDON DERRICK, LETIA
          DICKERSON, JEFFREY HOLT, JERRY MERKEL, AND LYNN SEDA’S
          RESPONSE IN PARTIAL SUPPORT OF THE MOTION TO TRANSFER

       Plaintiffs Daniel Purcell, Luke Cuddy, Elizabeth Twitchell, Frank Novak, and Interested Parties

Laura Ammons, Brandon Derrick, Letia Dickerson, Jeffrey Holt, Jerry Merkel, and Lynn Seda, the

Plaintiffs in Purcell et al. v. Continental Aktiengesellschaft et al., Case No. 1:24-cv-938, S.D.N.Y. (the

“Purcell Action”); Novak v. Continental Aktiengesellschaft et al., Case No. 1:24-cv-1202, S.D.N.Y. (the

“Novak Action”); and tag-along action Ammons et al. v. Continental Aktiengesellschaft et al., Case No.

1:24-cv-1513, S.D.N.Y. (the “Ammons Action”) (collectively, the “Purcell Plaintiffs”), pursuant to 28

U.S.C. § 1407 and Panel Rule 6.1(d) and through their undersigned counsel, hereby submit this Response

in Support to the Motion to Transfer (ECF No. 1). The Purcell Plaintiffs support coordination and

consolidation of the Relevant Actions. The Purcell Plaintiffs respectfully submit that the Northern District

of Ohio is the best-suited venue for the transfer and that the Honorable Sara Lioi is well-suited to handle

this MDL. In the alternative, the Purcell Plaintiffs do not oppose the Southern District of New York.

                                            BACKGROUND

       The Purcell Action was filed on February 8, 2024. The Novak Action was filed on February 16,

2024. The Ammons Action was filed on February 28, 2024. On February 27, 2024, Plaintiff Rena

Sampayan filed a Motion to Transfer Related Actions before this Panel. See ECF No. 1. As of this

writing, there are nineteen (19) transferee cases or related actions before the Panel. Each of the actions
                   Case MDL No. 3107 Document 75 Filed 03/20/24 Page 2 of 4




before the Panel alleges that the plaintiffs in question purchased tires (either directly or indirectly) from

one or more of the Defendants for their passenger vehicles and, in doing so, were harmed when

Defendants participated in an illegal scheme to raise the price of passenger tires.

                                                 ARGUMENT

          The Purcell Plaintiffs’ Action, like the action in the Motion to Transfer, stems from a series of

dawn raids of Defendants’ companies within the European Union. With nineteen actions pending in this

MDL across four jurisdictions, there is no clear center of gravity in this MDL. While twelve of the

nineteen cases filed (including the Purcell Plaintiffs’ Actions) are filed in the Southern District of New

York, there are also actions pending in the Eastern District of Michigan (1), the District of South Carolina

(2), and the Northern District of Ohio (4).

          These cases have all been filed in a short period of time (the first-filed case was filed on February

7, 2024), and many of the Defendants – especially the international Defendants – have yet to appear.

None have reached the pleading stage yet.

          The Purcell Plaintiffs submit that the Northern District of Ohio is the best-suited location for

consolidation and centralization. Akron, Ohio has traditionally been known as the “Rubber Capital of the

World” and while the Defendants are spread now throughout the country and the United States, many still

maintain important contacts with the Northern District of Ohio.

          Defendant Goodyear Tire and Rubber Company is headquartered in the District, and important

witnesses and documents are likely to be found there. Similarly, Defendant Continental Tire the Americas

LLC has a major sales and marketing facility in the District, which it describes as the “operational hub for

business in the region and oversees all product lines.”1 Further, Defendant Continental Tires the Americas

LLC is an Ohio corporation.




1
    https://www.continental.com/en-us/career/our-locations/fairlawn/, last accessed March 20, 2024.
                  Case MDL No. 3107 Document 75 Filed 03/20/24 Page 3 of 4




        Defendant Bridgestone Americas, Inc. maintains not one, but two research and testing facilities for

tires in Akron as well as the consumer sales division for the United States and Canada in neighboring

Novi, Michigan.2 Defendant Michelin North America, Inc., while no longer directly present in the

District, maintains its B.F. Goodrich production facility in neighboring Woodburn, Indiana.3 Similarly,

Defendant Pirelli Tire LLC has a sales and engineering office in the neighboring district in Detroit.4

        Such a locus has routinely been found by this Panel to be a more than sufficient basis for

consolidation and/or centralization. See, e.g., In re Chocolate Confectionary Antitrust Litigation, 542

F.Supp.2d 1376, 1377 (J.P.M.L. 2008) (“Because defendant Hershey's worldwide headquarters are located

there, and several of the defendants maintain a presence in or near that district, relevant documents and

witnesses are likely located in that area.”) See also In re Procter & Gamble Aerosol Products Marketing

and Sales Practices Litigation, 600 F.Supp.3d 1343, 1344 (J.P.M.L. 2022) (“Thus, common witnesses and

other evidence likely will be located in or near this district.”)

        While Cleveland in undeniably not the international airline hub that New York City is, Cleveland

is readily accessible from all parts of the United States, and its air and hotel facilities are robust. Further,

counsel for the international defendants are likely to be represented by the same counsel as their American

subsidiaries, and to that end, Cleveland is centrally located.

        Lastly, the Northern District of Ohio has only four MDLs currently pending, and to the best of the

Purcell Plaintiffs’ knowledge, the Honorable Sara Lioi has never presided over an MDL. The Northern

District of Ohio’s average case disposition time is a robust 9.1 months (compared with 9.3 for the District




2
  https://www.bridgestoneamericas.com/en/contact-us/locations/administrative-offices and
https://www.bridgestoneamericas.com/en/contact-us/locations/research-innovation#, last accessed March
20, 2024.
3
  https://www.fenderbender.com/running-a-shop/finance/article/33032928/michelin-investing-50-million-
in-indiana-bfgoodrich-tire-plant, last accessed March 20, 2024.
4
  https://www.tirebusiness.com/article/20010315/NEWS/303159994/pirelli-opens-oe-sales-office-in-
detroit, last accessed March 20, 2024.
                 Case MDL No. 3107 Document 75 Filed 03/20/24 Page 4 of 4




of South Carolina and 10.1 for the Southern District of New York)5, and sees far fewer cases filed each

year than either the Southern District of New York of the District of South Carolina.

                                               CONCLUSION

       For all the foregoing reasons, the Purcell Plaintiffs respectfully request that the Panel grant the

Motion to Transfer and consolidate and transfer all transferee cases and related actions to the Northern

District of Ohio. Plaintiffs submit that the Honorable Sara Lioi would be an excellent jurist to oversee the

consolidated and centralized litigation. In the alternative, the Purcell Plaintiffs view the Southern District

of New York as an acceptable alternative.

Dated: March 20, 2024                       Respectfully submitted,

                                            By:       /s/ Carl V. Malmstrom

                                            WOLF HALDENSTEIN ADLER
                                            FREEMAN & HERZ LLC
                                            Carl V. Malmstrom
                                            111 W. Jackson St., Suite 1700
                                            Chicago, Illinois 60604
                                            Tel.: (312) 984-0000
                                            Fax: (212) 686-0114
                                            malmstrom@whafh.com

                                            Counsel for the Purcell Plaintiffs




5
 See https://www.uscourts.gov/statistics/table/c-5/federal-judicial-caseload-statistics/2023/03/31, last
accessed March 20, 2024.
